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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                                             :
UNITED STATES OF AMERICA                                     :
                                                             :
                                                             :
                 v.                                          :
                                                             :
BHASKAR SAVANI; ARUN SAVANI;                                 :
NIRANJAN SAVANI; SUNIL PHILLIP; AMEN                         : CRIMINAL NO. 2:23-cr-00016-JLS
DHYLLON; ALEKSANDRA RADOMIAK; JON                            :
JULIAN; VIVEK SAVANI; BHARATKUMAR                            :
PARASANA; HITESHKUMAR GOYANI;                                :
PIYUSHA PATEL; and SUSAN MALPARTIDA,                         :
                                                             :
                         Defendants.                         :
                                                             :

DEFENDANT’S UNOPPOSED MOTION TO TEMPORARILY MODIFY CONDITIONS
                         OF RELEASE

          Defendant Aleksandra Radomiak, by and through her undersigned counsel, Leigh M.

Skipper, respectfully moves this Court to temporarily modify the terms and conditions of her

pretrial release for the limited purpose of permitting Ms. Radomiak to travel to Belmar, New

Jersey, and Spring Lake, New Jersey, from Friday, June 21, 2024, returning to the Eastern

District of Pennslyvania on Monday, June 24, 2024, to attend her nephew’s wedding. The

assigned Assistant United States Attorney, Meghan Flannery, and the assigned Pre-trial Services

Officer, supervisor Michael Baker, who has been closely monitoring Ms. Radomiak, do not

oppose the granting of this request. It is understood as a condition that none of the co-defendants

in this underlying matter will be in attendance at the events.

          In support hereof, it is represented as follows:

1.        The wedding will take place on Saturday, June 22, in Belmar, New Jersey, and the
          reception will be on the same day in Spring Lake, New Jersey. There will be a rehearsal
          dinner the night before on Friday, June 21, in Belmar, New Jersey, which Ms. Radomiak
          will also attend. Ms. Radomiak will disclose the location of the rehearsal and rehearsal


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          dinner, wedding ceremony, and reception to her Pre-trial Services Officer and the
          assigned Assistant United States Attorney.

2.        Ms. Radomiak will be staying at an Airbnb in Belmar, New Jersey, from Friday, June 21,
          through Monday, June 24, 2024. Ms. Radomiak will disclose the full address of her
          accommodations to her Pre-trial Services Officer and the assigned Assistant United
          States Attorney.

3.        This is a long-awaited family event for a close family member—indeed, Ms. Radomiak is
          also her nephew’s Godmother. Many of Ms. Radomiak’s family members—such as Ms.
          Radomiak’s elderly mother—will be traveling from Poland to attend the wedding.

          WHEREFORE, Ms. Radomiak respectfully asks this Court to issue an order in the form

of the proposed Order simultaneously submitted with this motion.



                                               DUANE MORRIS LLP


                                               /s/ Leigh M. Skipper
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                                               Attorneys for Defendant
                                               ALEKSANDRA RADOMIAK

Dated: June 4, 2024




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